                   Case: 1:10-cv-07633 Document #: 161 Filed: 10/12/11 Page 1 of 2 PageID #:2421
Order Form (01/2005)


                              United States District Court, Northern District of Illinois

     Name of Assigned Judge        Matthew F. Kennelly                 Sitting Judge if Other
        or Magistrate Judge                                             than Assigned Judge

   CASE NUMBER                           10 C 7633                                 DATE                     10/12/2011
            CASE                            Jefferson-Pilot Investments, Inc. vs. Capital First Realty, Inc.
            TITLE

  DOCKET ENTRY TEXT

  No objection has been filed to the second receiver’s report or to the request for compensation contained in
  the report. The Court approves the receiver’s invoices for July 2011 in the amount of $11,166.66 and for
  August 2011 in the amount of $16,622.07.




                                                                                                                      Docketing to mail notices.




                                                                                                Courtroom Deputy                 mk
                                                                                                          Initials:




10C7633 Jefferson-Pilot Investments, Inc. vs. Capital First Realty, Inc.                                                             Page 1 of 1
Case: 1:10-cv-07633 Document #: 161 Filed: 10/12/11 Page 2 of 2 PageID #:2422
